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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



     NATIONAL COUNCIL OF
     NONPROFITS, et al.,

                 Plaintiffs,
                                                          Civil Action No. 25 - 239 (LLA)
          v.

     OFFICE OF MANAGEMENT AND
     BUDGET, et al.,

                 Defendants.



                                  MEMORANDUM OPINION

         On February 3, 2025, the court issued a temporary restraining order (“TRO”) prohibiting

 Defendants Russell Vought1 and the Office of Management and Budget (“OMB”) (collectively,

 “Defendants”) from implementing, giving effect to, or reinstating under a different name OMB

 memorandum M-25-13 freezing all federal financial assistance under open awards. ECF No. 30,

 at 29-30. The court found good cause to extend the TRO under Rule 65(b)(2) on February 6, 2025.

 Feb. 6, 2025 Minute Order. Plaintiffs, several coalitions of nonprofit organizations, have moved

 for a preliminary injunction granting similar relief as the TRO. ECF No. 40. Upon consideration

 of the parties’ briefs, ECF Nos. 40, 47, 49, an amicus brief from the American Center for Law and

 Justice, ECF No. 48, the oral argument held on February 20, 2025, Feb. 20, 2025 Minute Entry,

 and for the reasons explained below, the court will enter a preliminary injunction.




 1
  Although Plaintiffs originally named then-Acting Director of the Office of Management and
 Budget Matthew Vaeth as a defendant, Russell Vought—who was confirmed by the Senate on
 February 6, 2025—“is automatically substituted as a party” in Mr. Vaeth’s place pursuant to
 Federal Rule of Civil Procedure 25(d).
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             I.        FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         While most of the following factual background and procedural history was explained in the

 court’s opinion granting the TRO, ECF No. 30, the court recounts the details here for completeness

 and adds developments since the court’s February 3, 2025 hearing, TRO Hr’g, Nat’l Council of

 Nonprofits v. Off. of Mgmt. & Budget, No. 25-CV-239 (D.D.C. Feb. 3, 2025).


                  A.    Office of Management and Budget Memorandum M-25-13

         On January 27, 2025, Matthew J. Vaeth, Acting Director of OMB, issued a memorandum

 directing federal agencies to “complete a comprehensive analysis of all of their Federal financial

 assistance programs to identify programs, projects, and activities that may be implicated by any of

 the President’s executive orders.” Off. of Mgmt. & Budget, Exec. Off. of the President, Temporary

 Pause of Agency Grant, Loan, and Other Financial Assistance Programs (Jan. 27, 2025),

 https://perma.cc/69QB-VFG8 (“OMB Pause Memorandum,” or “M-25-13”), at 2. The memorandum

 stated that, “[i]n the interim, to the extent permissible under applicable law, Federal agencies must

 temporarily pause all activities related to [the] obligation or disbursement of all Federal financial

 assistance, and other relevant agency activities that may be implicated by the executive orders,

 including, but not limited to, financial assistance for foreign aid, nongovernmental organizations,

 DEI, woke gender ideology, and the green new deal.” Id. Additionally, the memorandum directed

 that “[e]ach agency must pause: (i) issuance of new awards; (ii) disbursement of Federal funds

 under all open awards; and (iii) other relevant agency actions that may be implicated by the

 executive orders, to the extent permissible by law.” Id.

         The memorandum defined “Federal financial assistance” as: “(i) all forms of assistance

 listed in paragraphs (1) and (2) of the definition of this term at 2 [C.F.R. §] 200.1; and (ii) assistance

 received or administered by recipients or subrecipients of any type except for assistance received



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 directly by individuals.” Id. ¶ 17. This includes all federal assistance in the form of grants, loans,

 loan guarantees, and insurance. Id. ¶ 18; see 2 C.F.R. § 200.1.2 As relevant executive orders, it

 listed:

           ▪      Protecting the American People Against Invasion (Jan. 20, 2025);

           ▪      Reevaluating and Realigning United States Foreign Aid (Jan. 20, 2025);

           ▪      Putting America First in International Environmental Agreements (Jan. 20, 2025);

           ▪      Unleashing American Energy (Jan. 20, 2025);

           ▪      Ending Radical and Wasteful Government DEI Programs and Preferencing
                  (Jan. 20, 2025);

           ▪      Defending Women from Gender Ideology Extremism and Restoring Biological Truth
                  to the Federal Government (Jan. 20, 2025); and

           ▪      Enforcing the Hyde Amendment (Jan. 24, 2025).

 OMB Pause Memorandum, at 1-2.

           The memorandum stated that “[t]he temporary pause [would] become effective on

 January 28, 2025 at 5:00 PM.” Id. at 2. During the pause, agencies were directed to “submit to

 OMB detailed information on any programs, projects[,] or activities subject to [the] pause” on or

 before February 10, 2025. Id. at 2.


                 B.     Complaint, Emergency Hearing, and Administrative Stay

           Shortly after noon on January 28, Plaintiffs brought this suit against OMB and Acting

 Director Vaeth arguing that OMB’s action violated the Administrative Procedure Act (“APA”),

 5 U.S.C. § 701 et seq. ECF No. 1. Plaintiffs alleged that the implicated federal grants and funding

 “are the lifeblood of operations and programs for many . . . nonprofits, and [that] even a short




 2
   The memorandum included a footnote stating: “Nothing in this memo should be construed to
 impact Medicare or Social Security benefits.” OMB Pause Memorandum, at 1 n.2.


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 pause in funding . . . could deprive people and communities of their life-saving services.” Id. ¶ 32.

 They argued that Defendants’ action was arbitrary and capricious, violated the First Amendment

 of the United States Constitution, and exceeded OMB’s statutory authority. Id. ¶¶ 43-61.

         Along with their complaint, Plaintiffs sought a temporary restraining order “barring the OMB

 and all of its officers, employees, and agents from taking any steps to implement, apply, or enforce

 Memo M-25-13.” ECF No. 5, at 18. Defendants entered an appearance, ECF No. 9, and the court

 held an emergency hearing at 4:00 p.m. on January 28 to discern the parties’ positions with respect

 to the issuance of a brief administrative stay pending the resolution of Plaintiffs’ request for a TRO,

 Jan. 28, 2025 Minute Entry.

         Given the extreme time constraints of the litigation and the magnitude of the legal issues,

 the court entered a brief administrative stay to permit the parties to fully brief the TRO motion and

 “buy[] the court time to deliberate.”3 ECF No. 13, at 3 (quoting United States v. Texas, 144 S. Ct.

 797, 798 (2024) (Barrett, J., concurring)). The administrative stay was limited in scope and only

 prohibited Defendants “from implementing OMB Memorandum M-25-13 with respect to the

 disbursement of Federal funds under all open awards” until 5:00 p.m. on February 3, 2025. Id. at

 4-5. The court also set a hearing on Plaintiffs’ TRO motion for 11:00 a.m. on February 3, 2025.

 Id. at 5.


                   C.     Rescission of Memorandum M-25-13 and Aftermath

         On January 29, the day after the court entered its administrative stay, OMB issued a new

 memorandum (“M-25-14”) that purported to rescind M-25-13. See ECF Nos. 18, 18-1. The new




 3
   The court issued the administrative stay from the bench shortly before the “temporary pause” of
 federal funding was set to take effect at 5:00 p.m. Tr. of Emergency Hr’g, at 23:21-24:5, Nat’l
 Council of Nonprofits, No. 25-CV-239 (D.D.C. Jan. 28, 2025).


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 memorandum consisted of two sentences: “OMB Memorandum M-25-13 is rescinded. If you have

 questions about implementing the President’s Executive Orders, please contact your agency General

 Counsel.” ECF No. 18-1.

        Shortly after this “rescission” was issued, White House Press Secretary Karoline Leavitt

 announced from her official social media account that the new memorandum was “NOT a

 rescission of the federal funding freeze.” Karoline Leavitt, X (formerly Twitter) (Jan. 29, 2025),

 https://perma.cc/99C4-5V6G. Instead, she stated that “[i]t [was] simply a rescission of [OMB

 memorandum M-25-13].” Id. She further explained that the purpose of the rescission was “[t]o

 end any confusion created by the court’s injunction.” Id. The entire post may be viewed below:




 Id.4




 4
   The same day, Beatrice Adams moved to intervene on behalf of herself and all others similarly
 situated. ECF No. 19. She sought to dissolve the court’s then-active administrative stay, arguing
 that child-welfare funding was being used to “facilitate the separation of children from loving
 homes.” Id. at 3-4. Both parties oppose Ms. Adams’s intervention. ECF Nos. 41, 42. The court
 will deny Ms. Adams’s motion. To the extent she only seeks to challenge the administrative stay,
 Ms. Adams’s motion to intervene is now moot. In any event, Ms. Adams’s claims are too factually
 and legally attenuated from those alleged in Plaintiffs’ complaint, and Defendants are “already
 adequately representing the Government’s interests in ensuring that all federal funding is
 administered appropriately.” ECF No. 42, at 1.


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                           D.      Temporary Restraining Order Phase

        On January 30, Defendants filed their opposition to Plaintiffs’ TRO motion and concurrently

 moved to dismiss the complaint for lack of subject matter jurisdiction. ECF Nos. 20, 21. Both

 motions were fully briefed by February 1. ECF Nos. 24, 25, 26.

        On the morning of February 3, 2025, the court held a hearing on Plaintiffs’ motion for a

 TRO. Feb. 3, 2025 Minute Entry. At the conclusion of the hearing, the court explained that it was

 inclined to grant a TRO and deny Defendants’ motion to dismiss. Tr. of TRO Hr’g, Nat’l Council

 of Nonprofits, at 58:17-59:15, No. 25-CV-239 (D.D.C. Feb. 3, 2025). Pursuant to the court’s request,

 Plaintiffs submitted a proposed TRO order shortly after the hearing concluded, and Defendants

 responded to the proposed order by mid-afternoon.

        Before the administrative stay expired at 5:00 p.m., the court issued a memorandum opinion

 and order granting Plaintiffs’ motion for a temporary restraining order. ECF No. 30. The court

 concluded that it had jurisdiction over Plaintiffs’ motion, that the case was not moot following the

 purported “rescission” of the OMB Pause Memorandum, and that Plaintiffs had met the heavy

 burden of showing that they were entitled to a temporary restraining order. Id. at 6-29. Specifically,

 the court found that Plaintiffs had demonstrated that they were likely to succeed on their arbitrary

 and capricious claim because “Defendants . . . offered no rational explanation for why they needed

 to freeze all federal financial assistance—with less than twenty-four-hours’ notice—to ‘safeguard

 valuable taxpayer resources.’” Id. at 23 (quoting OMB Pause Memorandum, at 1).5 The court

 further determined that Plaintiffs had produced evidence that they would suffer irreparable injury

 in the absence of emergency relief because “the funding freeze threaten[ed] the lifeline that keeps



 5
   While the court did not fully address Plaintiffs’ other two claims (that Defendants’ actions were
 in excess of statutory authority and violated the First Amendment), it noted that they had shown
 at least some likelihood of success on both. ECF No. 30, at 20 n.6.


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 countless organizations operational.” Id. at 28. Finally, the court concluded that the “nationwide

 panic” and widespread chaos caused by the impending freeze tipped the public interest heavily in

 favor of a temporary restraining order. Id. at 28-29.

        The order prohibited Defendants “from implementing, giving effect to, or reinstating under

 a different name the directives in OMB Memorandum M-25-13 with respect to the disbursement

 of Federal funds under all open awards.” ECF No. 30, at 29. Pursuant to the order, Defendants

 sent written notice “to all agencies to which OMB Memorandum M-25-13 was addressed”

 informing them of the temporary restraining order later that evening. ECF No. 39, at 1.

        On February 6, the court set an expedited preliminary injunction briefing schedule and

 ordered the parties to appear for a hearing on February 20 at 11:00 a.m. Feb. 6, 2025 Minute Order.

 The court also extended the TRO for good cause until it could resolve Plaintiffs’ forthcoming

 preliminary injunction motion. Id.


                              E.      Preliminary Injunction Phase

        On February 11, Plaintiffs filed their motion for a preliminary injunction. ECF No. 40.

 Defendants filed their opposition on February 15, ECF No. 47, and Plaintiffs filed their reply on

 February 18, ECF No. 49.6

        Some of Plaintiffs’ members submitted new declarations explaining that they have been

 able to access their previously allocated federal funds since the court’s entry of the TRO. See ECF

 Nos. 40-1 ¶ 3; 40-2 ¶ 6; 40-3 ¶ 4. Those declarants still maintain, however, that any additional

 pause in funding will have catastrophic or fatal consequences for their organizations. See ECF

 Nos. 40-1 ¶¶ 4-5; 40-2 ¶¶ 7-8; 40-3 ¶ 5.



 6
  In the interim, on February 14, the American Center for Law and Justice filed an amicus brief in
 support of Defendants. ECF No. 46.


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        On the morning of February 20, the court held a hearing on Plaintiffs’ motion for a

 preliminary injunction. Feb. 20, 2025 Minute Entry.


                     F.      Parallel Litigation in the District of Rhode Island

        On the same day Plaintiffs filed this suit, and several hours before memorandum M-25-13’s

 pause was to go into effect, twenty-two states and the District of Columbia filed suit in the U.S.

 District Court for the District of Rhode Island and sought a TRO to halt implementation of the

 memorandum. See Compl., New York v. Trump, No. 25-CV-39 (D.R.I. Jan. 28, 2025), ECF No. 1.

        The district court held a hearing on January 29 at 3:00 p.m., after OMB had “rescinded”

 memorandum M-25-13. The court granted the States’ request and issued a TRO on January 31, 2025.

 TRO, New York, No. 25-CV-39 (D.R.I. Jan. 31, 2025), ECF No. 50. The restraining order

 prohibited the defendants (President Trump, OMB, and eleven federal agencies) from “paus[ing],

 freez[ing], imped[ing], block[ing], cancel[ing], or terminat[ing] [their] compliance with awards

 and obligations to provide federal financial assistance to the [plaintiff] States.” Id. at 11. The order

 also prohibited the defendants “from reissuing, adopting, implementing, or otherwise giving effect

 to the [OMB memorandum M-25-13] under any other name or title, . . . such as the continued

 implementation identified by the White House Press Secretary’s statement of January 29, 2025.”

 Id. at 12. Finally, the court directed the States to file their forthcoming motion for a preliminary

 injunction expeditiously. Id. at 11.

        On the morning of February 3, the defendants filed a notice of compliance with the District

 of Rhode Island’s TRO. Notice of Compliance with Court’s TRO, New York, No. 25-CV-39

 (D.R.I. Feb. 3, 2025), ECF No. 51. In it, the defendants explained that they had provided written

 notice to all defendant agencies on January 31 to inform them of the TRO and instruct them to

 comply with its restrictions. Id. ¶ 1. The defendants also notified the court that they believed



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  certain terms of the TRO “constitute[d] significant intrusions on the Executive Branch’s lawful

  authorities and the separation of powers.” Id. ¶ 2.

         The court subsequently set a briefing schedule on the States’ motion for a preliminary

  injunction. Text Order, New York, No. 25-CV-39 (D.R.I. Feb. 3, 2025). On February 6, the court

  held a status conference and extended the duration of its TRO until it could rule on the preliminary

  injunction motion. Text Order, New York, No. 25-CV-39 (D.R.I. Feb. 6, 2025). The next day, the

  States filed an emergency motion to enforce the TRO, citing evidence that they “continue[d] to be

  denied access to federal funds.” Mot. for Enforcement of the TRO, New York, No. 25-CV-39

  (D.R.I. Feb. 7, 2025), ECF No. 66. The defendants opposed, arguing that their actions “d[id] not

  run afoul of the Court’s injunction, or at least not a ‘clear and unambiguous command’ in the Court’s

  injunction.” Opp’n to Pls.’ Mot. to Enforce TRO, New York, No. 25-CV-39 (D.R.I. Feb. 9, 2025),

  ECF No. 70. On February 10, the court granted the States’ motion and ordered the defendants to

  “immediately restore frozen funding,” “end any federal funding pause,” and “take every step

  necessary to effectuate the TRO” during its pendency. Order, New York, No. 25-CV-39 (D.R.I.

  Feb. 10, 2025), ECF No. 96.

         Even though the court had not ruled on the still-pending motion for a preliminary

  injunction, the defendants appealed later that day. Notice of Appeal, New York, No. 25-CV-39

  (D.R.I. Feb. 10, 2025), ECF No. 98. They sought (1) review of the district court’s TRO order and

  enforcement orders, and (2) an administrative stay of the district court’s rulings pending the appeal.

  Emergency Mot. for Immediate Administrative Stay, New York v. Trump, No. 23-1138 (1st Cir.

  Feb. 10, 2025). The First Circuit assumed that it had jurisdiction over the appeal and unanimously

  denied the request for an administrative stay without prejudice. Order, New York, No. 23-1138

  (1st Cir. Feb. 11, 2025). It expressed uncertainty as to whether such an administrative stay could




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  issue and noted that “the defendants d[id] not cite any authority in support of their administrative

  stay request or identify any harm related to a specific funding action or actions that they w[ould]

  face without their requested administrative stay.” Id. The appellate court did not address the

  merits of the appeal. Id. The defendants then moved to voluntarily dismiss their appeal, Mot. to

  Voluntarily Dismiss Appeal, New York, No. 23-1138 (1st Cir. Feb. 13, 2025), which the court

  granted on February 13. Judgment, New York, No. 23-1138 (1st Cir. Feb. 13, 2025).

          On February 21, the District of Rhode Island held a preliminary injunction hearing. The

  court took the States’ motion under advisement but “reiterate[d] that the previously entered TRO

  [remained] in full force and effect.” Minute Entry, New York, No. 25-CV-39 (D.R.I. Feb. 21, 2025).

  Litigation remains ongoing.


                                           II.        DISCUSSION

                                            A.        Jurisdiction

          The factual situation has shifted somewhat since the court entered its TRO, and Defendants

  again press their jurisdictional arguments. While the initial funding freeze has begun to thaw, the

  court concludes that it still retains jurisdiction.


                                                 1.     Standing

          As an initial matter, there is no question that Plaintiffs had standing when they initially

  brought their complaint. ECF No. 30, at 6-13; see Garcia v. U.S. Citizenship & Immgr. Servs., 168

  F. Supp. 3d 50, 65 (D.D.C. 2016) (explaining that standing “is concerned with the presence of injury,

  causation, and redressability at the time a complaint is filed”). As the court explained in its TRO

  opinion, Plaintiffs had satisfied each of the three standing requirements: (1) a concrete and

  particularized injury in fact; (2) a causal connection linking the injury and the challenged conduct;

  and (3) a likelihood that a favorable court decision will redress the injury. ECF No. 30, at 6-7


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  (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)). While that alone is sufficient

  to confer standing, the court pauses to note that standing persists.


                                          a.      Injury in fact

         Plaintiffs have demonstrated that “even a temporary pause in funding to their members . . .

  would destroy their ability to provide [critical] services.” ECF No. 30, at 7; see ECF No. 1 ¶¶ 33-34,

  36-40. Many, if not all, of Plaintiffs’ members “need weekly injections of federal funds in order

  to continue operating.” ECF No. 30, at 8; see, e.g., ECF No. 24-7 ¶¶ 20-21. Some have employees

  who “live paycheck to paycheck, meaning that a single missed payment could prevent them from

  buying groceries or paying rent.” ECF No. 30, at 9 (internal quotation marks omitted); see ECF

  No. 24-4 ¶ 7. Others had begun to feel the effects of the freeze even before it was supposed to go

  into effect: one tribal organization was forced to preemptively lay off two employees on January 28.

  ECF No. 30, at 9; see ECF No. 24-5 ¶ 13. Plaintiffs also demonstrated constitutional injury because

  “Defendants [allegedly] singled out their funding programs (in other words, their economic

  lifelines) based on their exercise of speech and association.” ECF No. 30, at 8.

         Defendants now try to frame the issue as one of Plaintiffs’ “standing to seek prospective

  relief.” ECF No. 47, at 11. The court reminds Defendants that the injunctive relief currently in

  place was issued to temporarily stave off imminent, irreparable harm. Facts have certainly evolved

  since then, see infra Part II.A.2, but Defendants cannot pretend that the nationwide chaos and

  paralysis from two weeks ago is some distant memory with no bearing on this case. The relief

  Plaintiffs now seek is a more durable version of the relief they sought then, when their members

  were on the brink of extinction. In sum, Plaintiffs have marshalled significant evidence indicating

  that the funding freeze would be economically catastrophic—and in some circumstances, fatal—

  to their members. That is sufficient to show an injury-in-fact.



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                                           b.      Causation

         The court previously rejected Defendants’ attempts to break the causal chain between the

  funding freeze and the OMB Pause Memorandum. ECF No. 30, at 9-12. Plaintiffs convincingly

  demonstrated that the memorandum—not some other cause—triggered the shutting down of federal

  funding portals and the suspension of assistance payments. Id. While Defendants have tried to

  attribute the pauses to individual agency discretion, those pauses did not occur until after the

  memorandum was issued.

         In opposing the TRO, Defendants cited two cases, ECF No. 21-1, at 10-11, but the court

  was not persuaded then, and it remains unpersuaded. The first featured an executive order that

  “d[id] not require any action from federal agencies.” Louisiana ex rel. Landry v. Biden, 64 F.4th

  674, 681 (5th Cir. 2023). Instead, the order allowed agencies to individually determine whether

  the guidance applied to their activities. Id. For that reason, causation in Louisiana “hinge[d] on

  the independent choices of [a] regulated third party” and was not traceable to the defendant. Center

  for Law & Educ. v. Dep’t of Educ., 396 F.3d 1152, 1161 (D.C. Cir. 2005) (quoting Nat’l Wrestling

  Coaches Ass’n v. Dep’t of Educ., 366 F.3d 930, 938 (D.C. Cir. 2004), abrogated on other grounds

  by Cohen v. United States, 650 F.3d 717 (D.C. Cir. 2011) (en banc)). In contrast, the OMB Pause

  Memorandum was a clear command. It emphatically stated that all federal agencies “must

  temporarily pause all activities related to [the] obligation or disbursement of all Federal financial

  assistance.” OMB Pause Memorandum, at 2. That was a directive, not a suggestion. Just two

  paragraphs later, it reiterated that agencies “must pause . . . disbursement of Federal funds under

  all open awards.” Id. And in the penultimate paragraph, it stated that “OMB may grant exceptions

  allowing Federal agencies to issue new awards or take other actions on a case-by-case basis.” Id.

  (emphasis added). On its face, the memorandum does not read like a guidance that leaves funding

  decisions solely in the hands of independent, third-party agencies.


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         The second case, on which Defendants no longer rely, was also inapposite. In Jacobson v.

  Florida Secretary of State, 974 F.3d 1236 (11th Cir. 2020), the plaintiffs sought to change the way

  elections officials were listing gubernatorial candidates, but they had sued a government actor with

  no actual control over those officials. Id. at 1253. The elections officials were answerable only to

  voters, not the defendant. Id. Here, however, Defendants try to build their case on the exact opposite

  premise: that OMB does exercise control over federal financial policies. See ECF No. 21-1, at

  16-20. Both Louisiana and Jacobson are therefore inapplicable.

         Further undermining Defendants’ position, federal agencies clearly behaved as if the

  memorandum caused the freeze. In the immediate aftermath of the court’s administrative stay on

  January 28, the Environmental Protection Agency continued to pause funding disbursements

  explicitly based on the memorandum. See ECF No. 24-1, at 7 (explaining that the agency was still

  “working diligently to implement [OMB]’s memorandum” and was therefore “temporarily

  pausing all activities related to the obligation or disbursement of EPA Federal financial assistance”

  and working closely “with OMB” to do so).

         Undeterred, Defendants vigorously challenge causation again at the preliminary-injunction

  stage. They start by rehashing the independent-agency theory, claiming that the memorandum

  “did not itself temporarily pause any federal financial assistance.” ECF No. 47, at 13. For that to

  be true, Defendants would have the court believe that countless federal agencies, none of which

  had acted to cut off financial assistance before January 28, suddenly began exercising their own

  discretion to suspend funding across the board at the exact same time.             That would be a

  remarkable—and unfathomable—coincidence. That this uniform freeze occurred just hours after

  the memorandum’s issuance would be quite the happenstance, too. Indeed, the record belies

  Defendants’ assertions. It reflects that after OMB issued its memorandum on January 27, agencies




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  immediately began freezing funds, and after this court entered its TRO, some of those funds were

  released. See, e.g., ECF Nos. 40-3 ¶ 4 (organization able to draw down funds on February 4, one

  day after entry of the TRO); 40-1 ¶ 3 (organization able to draw down funds on February 5, two

  days after entry of the TRO); 40-2 ¶ 6 (organization received funds on February 6, three days after

  entry of the TRO).

         Defendants try to downplay the fact that the freeze began to thaw after the court entered its

  TRO. They claim that this “could equally be because such funds were not intended to be paused

  under the OMB Memo and OMB Guidance, or because of a broader court order entered by the

  district court in Rhode Island.” ECF No. 47, at 13. But this argument requires the exact same

  coincidental assumptions as above, just in reverse. And it contradicts the record, which indicates

  that agencies explicitly relied on the memorandum when responding to funding inquiries. See ECF

  No. 24-1, at 7. Adopting Defendants’ view would require reading the memorandum differently

  than how it was written. Its directive was broad and mandatory, and that is exactly how the

  agencies interpreted it. See infra Part II.A.2.a.

         Defendants also argue that the memorandum “d[id] not determine which funds or grants

  should be paused” and instead “require[d] that agencies make that determination, consistent with

  their own authorities.” ECF No. 47, at 13. In a manner of speaking, Defendants are right that the

  memorandum did not identify specific funds to be paused. Instead, it simply paused them all.

  OMB Pause Memorandum, at 2. Defendants cannot show that this directive left any room for

  agency discretion, especially on the nearly nonexistent timetable it provided. Agencies were not

  given an option on whether to continue honoring their payment obligations; they simply had to

  stop. And even if the agencies thought they had discretion to act, they were given roughly half a

  day to evaluate up to $3 trillion in grants, loans, and other programs. That is not discretion.




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         When Plaintiffs filed suit, they alleged that Defendants had illegally ordered all federal

  agencies to suspend payments on open awards. Plaintiffs provided evidence that those agencies

  only started freezing funds after the memorandum was issued and—in some cases—expressly relied

  on the memorandum to do so. Within days of this court’s TRO (and Defendants’ written notice to

  all federal agencies), payments began to resume. Defendants ask the court to overlook the simplest,

  most logical explanation for that sequence of events. The court declines to do so.


                                        c.        Redressability

         Redressability is closely related to causation, and Plaintiffs have satisfied it. Defendants

  claim that “[Plaintiffs’] funding is not administered by OMB” and that an injunction against it

  “would not give [them] legally enforceable protection from the allegedly imminent harm.” ECF

  No. 47, at 14 (quoting Haalend v. Brackeen, 599 U.S. 255, 293 (2023)).

         But Plaintiffs seek an injunction barring Defendants from directing agencies to freeze

  federal funding nationwide in a blanket fashion. Prelim. Inj. Hr’g, Nat’l Council of Nonprofits,

  No. 25-CV-239 (Feb. 20, 2025). As the court previously explained, a ruling in Plaintiffs’ favor

  would force agencies “to behave as if the memorandum were never issued.” ECF No. 30, at 13.

  Any pauses premised on the memorandum would cease, thus granting Plaintiffs significant relief.

  Whether individual agencies later exercise their individual discretion to stop funding on another

  basis does not defeat redressability as it pertains to the OMB Pause Memorandum.


                                             2.     Mootness

         Mootness, sometimes defined as “standing set in a time frame,” asks whether a case continues

  to present a live controversy as it progresses. U.S. Parole Comm’n v. Geraghty, 445 U.S. 388, 397

  (1980) (quoting Henry P. Monaghan, Constitutional Adjudication: The Who and When, 82 Yale L.J.

  1363, 1384 (1973)). As the court explained in its earlier opinion, despite the purported “recission”


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  of the OMB Pause Memorandum, the case was not moot at the time the court entered its TRO.

  ECF No. 30, at 13-19. While Defendants continue to argue mootness in light of recent factual

  developments, the court’s previous analysis still applies today.


                                a.       Rescission of the memorandum

         Defendants begin by again relying on the rescission of the OMB Pause Memorandum,

  which occurred on January 29. ECF No. 47, at 8. That “rescission,” however, had already taken

  place when Defendants last made this same argument. The court rejected the claim then, and it

  rejects the claim now.

         First, the doctrine of voluntary cessation still applies. A party’s decision to stop “a challenged

  practice does not deprive a federal court of its power to determine [its] legality.” Friends of the

  Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (quoting City of Mesquite

  v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982)). This doctrine exists to protect plaintiffs and

  prevent a defendant from “return[ing] to [its] old ways” as soon as a case gets dismissed. Id.

  (quoting City of Mesquite, 455 U.S. at 289). To overcome it, a defendant must meet a heavy

  burden: it must show that it is “absolutely clear [that] the allegedly wrongful behavior [cannot]

  reasonably be expected to recur.” Pub. Citizen, Inc. v. Fed. Energy Reg. Comm’n, 92 F.4th 1124,

  1128 (D.C. Cir. 2024) (emphasis added) (quoting Friends of the Earth, Inc., 528 U.S. at 189).

         Rescinding the OMB Pause Memorandum did not moot the case because Defendants could

  not—and still cannot—show that they will not “resume the challenged activity.” Id. As the court

  previously observed, the White House Press Secretary appeared to completely contradict the act

  of rescission by expressly stating that it was “NOT a rescission of the federal funding freeze.”

  Karoline Leavitt, X (formerly Twitter) (Jan. 29, 2025), https://perma.cc/99C4-5V6G. By any

  reading of the Press Secretary’s remarks, the memorandum’s retraction was an empty gesture. At



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  best, it was meaningless. At worst, it was a brazen attempt to deprive the court of jurisdiction

  without actually altering course. See Pub. Citizen, Inc., 92 F.4th at 1128 (explaining that the

  voluntary-cessation doctrine applies with greater force when a party is suspected of “manipulating

  the judicial process through the false pretense of singlehandedly ending a dispute” (internal

  quotation marks omitted) (quoting Guedes v. Bureau of Alcohol, Tobacco, Firearms & Explosives,

  920 F.3d 1, 15 (D.C. Cir. 2019) (per curiam))). Because Plaintiffs’ members were still being

  frozen out of their funding in the wake of the purported “rescission,” see ECF Nos. 24-4 ¶ 12; 24-5

  ¶ 24; 24-11 ¶ 19, “it appears that OMB sought to overcome a judicially imposed obstacle

  without . . . ceasing the challenged conduct.” ECF No. 30, at 16.7

         Defendants and Amicus now say that factual developments have made the voluntary-

  cessation doctrine inapplicable. ECF No. 47, at 9-10. Specifically, they say that “there is no reason

  to think OMB [will] reissue the challenged Memo” because the President’s executive orders—

  which Plaintiffs do not challenge—remain in place. Id. at 10; see ECF No. 48, at 4 (Amicus




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    Amicus American Center for Law and Justice echoes Defendants’ mootness argument, claiming
  that “none of [Plaintiffs’] desired terms of the Prayer for Relief can be implemented [because] there
  is no OMB Memo that can be enjoined, restrained, or vacated.” ECF No. 48, at 3. The court has
  already rejected this argument. To the extent that Plaintiffs’ prayer for relief is limited only to the
  memorandum, they have shown that the rescission had no real effect on Defendants’ actions. For
  days after the memorandum purportedly ceased to exist, agencies continued to withhold funds
  pursuant to its authority. See ECF No. 24-1, at 7. If Amicus were correct, a government agency
  could order illegal activity, retract that order in name only while continuing to implement its
  substance, and escape legal liability. The court refuses to ratify such behavior. Amicus goes on
  to argue that “Plaintiffs cannot use a Complaint directed against the OMB Memo as a basis for
  obtaining relief against all pauses of whatever basis,” ECF No. 48, at 5, but this misconstrues the
  requested injunctive relief. Plaintiffs made clear at the preliminary injunction hearing that they
  only seek to prevent Defendants from ordering or implementing unilateral, blanket pauses across
  the entire federal funding apparatus. See Tr. of Prelim. Inj. Hr’g, at 55:15-18, Nat’l Council of
  Nonprofits, No. 25-CV-239 (Feb. 20, 2025) (proposing an order that would enjoin a “unilateral[] . . .
  freeze on the payment of open awards on a non-individualized basis”). In other words, Plaintiffs
  wish to use a complaint directed against an agency-ordered blanket freeze to obtain relief against
  that precise action.


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  arguing that the “executive orders related to federal funding” independently “order[ed] federal

  agencies to engage in certain specified pauses”). In other words, the memorandum would have no

  added benefit. But this argument ignores the fact that the effects of the OMB Pause Memorandum

  and the President’s executive orders were not coextensive. At the TRO hearing, Defendants could

  not explain all the frozen funding by relying on the executive orders alone. See ECF No. 30, at 18

  (“Plaintiffs have provided evidence that the scope of frozen funds appears to extend far beyond

  the reach of the executive orders[.]”), 19 (“At oral argument, when asked about another declarant

  who was receiving a grant from the National Science Foundation, Defendants could not give a

  clear answer as to why that recipient would be denied funds pursuant to the executive orders.”

  (citation omitted)).   Defendants insist that this overreach may have been because agencies

  overzealously implemented the freeze. But that is a problem of Defendants’ own creation. Their

  memo was written, interpreted, and executed as a blanket pause. See, e.g., Tr. of TRO Hr’g, at

  16:1-5, Nat’l Council of Nonprofits, No. 25-CV-239 (D.D.C. Feb. 3, 2025) (“[T]he way that the

  OMB order has been implemented in many cases . . . is [not by] pausing individual grants but by

  freezing the platforms, the online portals[.]”). Defendants cannot shift the blame onto federal

  agencies because those agencies followed Defendants’ own orders.

         Attempting to put the agencies’ real-world interpretations aside, Defendants assert that the

  memorandum’s language was clearly limited only to activities covered by the seven executive orders

  referenced in the memorandum. See Tr. of Prelim. Inj. Hr’g, at 26:25-29:17, Nat’l Council of

  Nonprofits, No. 25-CV-239 (D.D.C. Feb. 20, 2025). The court is unconvinced for several reasons.

  The memorandum’s primary directive (“must temporarily pause”) targeted “all activities related

  to [the] obligation or disbursement of all Federal financial assistance, and other relevant agency

  activities that may be implicated by the executive orders, including, but not limited to, financial




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  assistance for foreign aid, nongovernmental organizations, DEI, woke gender ideology, and the

  green new deal.” OMB Pause Memorandum, at 2. OMB’s decision to separate the first and second

  clauses indicated that they were to be treated as distinct categories for the pause. If both clauses

  were meant to be limited to the executive orders, it is not clear why OMB would distinguish “all

  activities related to obligation or disbursement” from “other relevant agency activities.” Id.

  Conceivably, OMB would have simply instructed agencies to pause all funding activities related

  to the executive orders and leave it at that.

         Furthermore, the whole purpose of the pause was to give agencies time “to identify

  programs, projects, and activities that may be implicated by any of the President’s executive

  orders.” Id. (emphasis added). The pause was to apply “[i]n the interim”—in other words, while

  that identification took place. It would make little sense for agencies to only pause activities

  associated with the executive orders while evaluating what activities are even associated with the

  executive orders in the first place. The narrower reading that Defendants endorse would require

  agencies to already know what activities “may be implicated” by the executive orders. For the

  memorandum’s order of operations to be logical, then, the court would need to read it the way

  Plaintiffs do: OMB told agencies to assess funding for consistency with the President’s executive

  orders and, “[i]n the interim,” “temporarily pause all activities related to [the] obligation or

  disbursement of Federal financial assistance” while that assessment was underway. Id.

         Additionally, if the memorandum’s language were obviously limited to the executive

  orders, the court does not understand why OMB included a footnote carving out Social Security

  and Medicare, see id. at 1 n.2, or subsequently issued an entirely new document clarifying the

  original directive, ECF No. 11-1. None of the executive orders addresses Social Security or

  Medicare at all. If it were apparent that the pause did not extend beyond the executive orders, the




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  footnote is entirely unnecessary. And as for the subsequent guidance, it does not make sense for

  Defendants to claim that an initial instruction is unambiguous but then feel a need to clarify it only

  hours later.

          In sum, the doctrine of voluntary cessation still applies. Defendants have not made it

  “absolutely clear” that they will refrain from resuming the challenged activity given their post-

  complaint actions and overly restrictive reading of the memorandum’s language. Pub. Citizen,

  Inc., 92 F.4th at 1128.


                                     b.      Resumption of funding

          Second, Defendants try to argue that the gradual thawing of the freeze indicates mootness.

  ECF No. 47, at 9-11. The court disagrees. It is true that some of Plaintiffs’ members are now

  receiving federal funds again, but that does not render their case, or their request for injunctive

  relief, moot.

          At the preliminary injunction stage, Defendants cannot simply “claim that the need for an

  injunction is now moot because [they have] ‘ceased [their] wrongful conduct.’” Costa v. Bazron,

  464 F. Supp. 3d 132, 141 (D.D.C. 2020) (quoting Taylor v. Resol. Tr. Corp., 56 F.3d 1497, (D.C.

  Cir. 1995)). This rings especially true when the cessation “follow[s] the entry of a TRO.” Id. The

  “court’s power to grant injunctive relief survives discontinuance of the illegal conduct” because

  the “purpose . . . is to prevent future violations.” Dep’t of Just. v. Daniel Chapter One, 89 F. Supp.

  3d 132, 143 (D.D.C. 2015) (alteration in original) (quoting United States v. W.T. Grant Co., 345

  U.S. 629, 633 (1953)).

          Defendants instructed agencies to disregard the directives of the memorandum, as they

  were required to do so by two different courts’ orders. See ECF No. 30, at 29 (directing Defendants

  to issue written notice to all agencies); ECF No. 39-1 (Defendants’ written notice); TRO, New



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  York, No. 25-CV-39 (D.R.I. Jan. 31, 2025), ECF No. 50. But Defendants cannot now rely on this

  court-ordered compliance to argue that a court order is unnecessary. As Plaintiffs point out, and

  as other judges of this court have recognized, adopting Defendants’ position would mean that no

  TRO could ever become a preliminary injunction. See Costa, 464 F. Supp. 3d at 142 (“If

  compliance with the terms of a TRO were sufficient to defeat entry of a preliminary injunction,

  few—if any—cases would make it past the TRO stage.”).

         Defendants blithely suggest that if they were to revive or reissue the OMB Pause

  Memorandum at some future point in time, Plaintiffs could simply “file another motion for

  preliminary relief.” ECF No. 47, at 11. This proposal completely disregards the mountain of

  evidence Plaintiffs presented showing that even the threat of a funding freeze was enough to send

  countless organizations into complete disarray. Hours before the original pause was scheduled to

  start, organizations were already laying off staff or shuttering programs. See, e.g., ECF Nos. 24-5

  ¶ 13; 24-7 ¶¶ 20-21. In some cases, this was anticipatory; in others, it was because organizations

  were already being frozen out of funding portals. See ECF Nos. 24-8 ¶¶ 8-9; 24-6 ¶ 15; 24-7 ¶ 13;

  24-8 ¶ 9. Defendants’ assumption that Plaintiffs can easily rush back before the court for

  injunctive relief before catastrophe ensues is, quite simply, divorced from reality and the record.

  Indeed, while turning off funding streams appears to have been alarmingly easy, turning them back

  on has proven much more difficult. See ECF No. 40-2 ¶ 6 (explaining that it took three days to

  receive funding after entry of the TRO); Prelim. Inj. Hr’g, at 3:9-10, Nat’l Council of Nonprofits,

  No. 25-CV-239 (Feb. 20, 2025) (“Unfreezing of funds in response to that order has not always

  been smooth; in some cases, we think maybe imperfect and incomplete.”).

         Additionally, other intervening developments since the court issued its TRO seem to

  increase the urgency of injunctive relief. On February 10, the judge in the District of Rhode Island




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  case was forced to issue an order enforcing its TRO after the States “presented evidence . . . that

  the Defendants in some cases have continued to improperly freeze federal funds and refused to

  resume disbursement of appropriated federal funds.” Order, New York, No. 25-CV-39 (D.R.I.

  Feb. 10, 2025), ECF No. 96. The court did not mince words, concluding that “[t]hese pauses in

  funding violate the plain text of the TRO.” Id. Defendants cannot convincingly tell this court that

  there is no longer a need for injunctive relief after they were found to be in violation of another

  court’s order.

         For all these reasons, the court remains unpersuaded by Defendants’ mootness arguments.

  To be sure, the government is normally entitled to a presumption of good faith on voluntary

  cessation. Pub. Citizen, Inc., 92 F.4th at 1128-29 (quoting Clarke v. United States, 915 F.2d 699,

  705 (D.C. Cir. 1990) (en banc)). But the court will not confer that presumption when the government

  says one thing while expressly doing another. Karoline Leavitt, X (formerly Twitter) (Jan. 29, 2025),

  https://perma.cc/99C4-5V6G. And it will not reward parties who change appearances without

  changing conduct.


                                           3.      Ripeness

         At the preliminary injunction stage, Defendants raise a new jurisdictional argument based

  on ripeness. They claim that Plaintiffs’ claims are currently “too amorphous” for judicial review,

  and that the court should delay adjudication until further factual developments. ECF No. 47, at

  14.8




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   Defendants acknowledge, however, that Plaintiffs’ statutory claim—whether OMB has the power
  and authority to order “a government-wide halt on trillions of dollars in grants, loans, and other
  forms of financial assistance”—does not raise ripeness concerns. ECF No. 47, at 20 n.2.


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         Under the ripeness doctrine, courts conduct a two-pronged inquiry that evaluates (1) “the

  fitness of the issues for judicial decision,” and (2) “the hardship to the parties of withholding court

  consideration.” Andrade v. Lauer, 729 F.2d 1475, 1480 (D.C. Cir. 1984) (quoting Abbott Lab’ys

  v. Gardner, 387 U.S. 136, 149 (1967), abrogated on other grounds by Califano v. Sanders, 430

  U.S. 99 (1977)). But when “a threatened injury is sufficiently ‘imminent’ to establish standing, the

  constitutional requirements of the ripeness doctrine will necessarily be satisfied.” Nat’l Treasury

  Emps. Union v. United States, 101 F.3d 1423, 1428 (D.C. Cir. 1996).

         Plaintiffs have already established concrete, particularized, and non-speculative injuries—

  injuries that had devastating effects, persisted after the OMB Pause Memorandum was stayed, and

  loom over Plaintiffs to this day. In arguing to the contrary, Defendants ask the court to ignore the

  fact that agencies continued implementing OMB’s freeze or that the District of Rhode Island had

  to enforce its TRO mere days after it was entered. In the instant litigation, the only reason that

  harm stopped was because of injunctive relief issued by this court—relief that Defendants insist is

  unnecessary. Defendants’ ripeness arguments, like their mootness arguments, wholly disregard

  the factual circumstances of this case and its context.


                                    B.      Preliminary Injunction

         While they differ in duration, temporary restraining orders and preliminary injunctions are

  subject to the same substantive legal standards. See, e.g., Singh v. Carter, 168 F. Supp. 3d 216,

  223 (D.D.C. 2016). Courts may either grant a preliminary injunction pursuant to Federal Rule of

  Civil Procedure 65(c) or, in APA cases, may “issue all necessary and appropriate process to . . .

  preserve status or rights pending conclusion of the review proceedings” when doing so is

  “necessary to prevent irreparable injury.” 5 U.S.C. § 705. Both provisions provide a mechanism




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  for issuing injunctive relief and operate under the same four-factor test. District of Columbia v.

  U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 15 (D.D.C. 2020).

          To obtain a preliminary injunction, “the moving party must show (1) a substantial likelihood

  of success on the merits, (2) that it would suffer irreparable injury if the injunction were not granted,

  (3) that an injunction would not substantially injure other interested parties, and (4) that the public

  interest would be furthered by the injunction.” Chaplaincy of Full Gospel Churches v. England,

  454 F.3d 290, 297 (D.C. Cir. 2006).

          These four considerations are factors, not elements. “A district court must ‘balance the

  strengths of the requesting party’s arguments in each of the four required areas.’” Id. (quoting

  CityFed Fin. Corp. v. Off. of Thrift Supervision, 58 F.3d 738, 747 (D.C. Cir. 1995)). When a

  government entity is a party to the case, the third and fourth factors merge. Pursuing Am.’s

  Greatness v. Fed. Election Comm’n, 831 F.3d 500, 511 (D.C. Cir. 2016).

          Prior to the Supreme Court’s decision in Winter v. Natural Resources Defense Council,

  Inc., 555 U.S. 7 (2008), courts in this Circuit tended to employ a “sliding scale” method in which

  “a strong showing on one factor could make up for a weaker showing on another.” Sherley v.

  Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011). While the D.C. Circuit has considered abandoning

  the sliding-scale method for one that treats the substantial likelihood prong as “an independent,

  free-standing requirement,” id. at 393, it has yet to decide one way or the other, see Changji Esquel

  Textile Co. v. Raimondo, 40 F.4th 716, 726 (D.C. Cir. 2022). At the very least, however, the plaintiff

  must present a “serious legal question on the merits.” Raimondo, 40 F.4th at 726 (quoting Sherley,

  644 F.3d at 398). Given the ambiguity with respect to the sliding-scale approach, the court will

  consider all factors and delve into their relative weight only if it would affect the outcome. See

  Costa, 456 F. Supp. 3d at 133.




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                             1.        Likelihood of Success on the Merits

         On the merits, Defendants largely repeat the same arguments they made at the TRO stage.

  See ECF No. 47, at 14-16 (final agency action), 25-31 (arbitrary and capricious), 31-34 (statutory

  authority), 34-36 (First Amendment). The court begins by addressing OMB’s guidance document,

  which the parties discussed at length in their preliminary injunction briefing and at oral argument.

  See ECF No. 47, at 20-25; ECF No. 49, at 4-6; Prelim. Inj. Hr’g, at 6:19-9:14, 29:21-32:24, Nat’l

  Council of Nonprofits, No. 25-CV-239 (D.D.C. Feb. 20, 2025). It then turns to final agency action,

  followed by the substantive merits of Plaintiffs’ three claims.


                                  a.     The role of the OMB Guidance

         Defendants spill considerable ink about OMB’s issuance of a guidance document, ECF

  No. 11-1 (“OMB Guidance Document”), which supposedly limited the scope of the OMB Pause

  Memorandum, see ECF No. 47, at 20-25. They assert that the original memorandum, when read in

  tandem with the OMB Guidance Document, stops short of unlawful agency action. Id. at 21 (noting

  the OMB Guidance Document’s statement that “the pause does not apply across-the-board” and

  “is expressly limited to programs, projects, and activities implicated by the President’s Executive

  Orders”). This argument sounds persuasive in theory but clashes with how Defendants’ directives

  were actually written and implemented.

         As an initial matter, the language of the OMB Guidance Document appears to contradict

  that of the original memorandum. The guidance document sought to carve out numerous programs

  and portray the initial command as much more limited, but the original memorandum mandated (in

  bold typeface, no less) that all federal agencies “must temporarily pause all activities related to

  [the] obligation or disbursement of all Federal financial assistance.” OMB Pause Memorandum.

  It also required agencies to stop the “disbursement of Federal funds under all open awards.” Id.



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  (emphasis added). As the court explained previously, supra Part II.A.2.a, this language conveyed

  a clear directive to implement a blanket pause of federal financial assistance. That flatly contravenes

  the OMB Guidance Document’s pronouncement that the pause “d[id] not apply across-the-board.”

  OMB Guidance Document, at 1.

         Furthermore, regardless of how Defendants would have liked their guidance to apply, that

  is a far cry from how it was administered in practice. As far as the parties and this court are aware,

  the guidance was issued at some point on January 28 (the same day the funding freeze was to take

  effect). Plaintiffs only received a copy of the guidance around 1:30 p.m., see ECF No. 11, at 2,

  and even Defendants did not know exactly when it was originally issued or distributed to federal

  agencies, Tr. of Prelim. Inj. Hr’g, at 25:5-9, Nat’l Council of Nonprofits, No. 25-CV-239 (Feb. 20,

  2025). Under the most generous viewing of the case’s chronology, agencies had maybe four hours

  (but probably fewer) to actualize the OMB Guidance Document. Clearly, that was not enough

  time.9 Agencies still implemented the original memorandum as written. For example, despite the

  guidance’s attempt to carve out “program[s] that provide[] direct benefits to individuals,” OMB

  Guidance Document, at 1, financial assistance for such programs was still suspended, see ECF

  Nos. 24-5 ¶¶ 14-16; 27-1 ¶¶ 4-5. The guidance also exempted “[f]unds for small businesses” and

  “Head Start” payments, OMB Guidance Document, at 2, but those fell victim to the freeze, too,

  see ECF Nos. 24-3, at 74; 24-6. Defendants cannot rely on the OMB Guidance Document as a

  saving grace when it had virtually no effect on the ground.




  9
    Indeed, some agencies froze funding portals and resources even before the OMB Guidance
  Document was issued. Those agencies were necessarily operating pursuant to the original OMB
  Pause Memorandum, not the subsequent guidance. See, e.g., ECF Nos. 24-4 ¶ 8 (unable to access
  funding portal during the day on January 28, before Plaintiffs’ complaint was filed around noon);
  24-7 ¶ 13 (same); 24-8 ¶ 9 (unable to access fund portal as early as January 27).


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         This theme—that Plaintiffs are trying to enjoin a far-reaching version of the OMB Pause

  Memorandum that never existed—pervades all of Defendants’ briefing and argument. See ECF

  No. 47, at 10 (mootness), 13 (causation), 20-25 (role of the OMB Guidance Document); 27 (arbitrary

  and capricious). But Defendants cannot take a memorandum that was drafted broadly, interpreted

  expansively, and implemented categorically and fault Plaintiffs for “overreading” that directive.


                                     b.     Final agency action

         Defendants, now joined by Amicus, again dispute whether the OMB Pause Memorandum

  was final agency action. Like before, the court is unpersuaded.

         Finality is a prerequisite to the judicial review of an APA claim. See 5 U.S.C. § 704.

  Agency actions, as a general matter, must be “circumscribed [and] discrete.” Norton v. S. Utah

  Wilderness All., 542 U.S. 55, 62 (2004). Final agency action, in particular, “must mark the

  consummation of the agency’s decisionmaking process” and determine “rights or obligations . . .

  from which legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177-78 (1997) (internal

  quotation marks omitted) (first quoting Chicago & S. Air Lines, Inc. v. Waterman S.S. Corp., 333

  U.S. 103, 113 (1948), then quoting Port of Boston Marine Terminal Ass’n v. Rederiaktiebolaget

  Transatlantic, 400 U.S. 62, 71 (1970)). The APA does not, for example, allow a court to review

  an agency’s “day-to-day operations.” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 899 (1990).

         Echoing points from their causation argument, Defendants claim that any instruction from

  OMB could not have been final because it was the individual agencies that carried out the funding

  freeze. To the extent this repeats the causation analysis, the court has already addressed it. See

  supra Part II.A.1.b.

         Defendants and Amicus further accuse Plaintiffs of improperly advancing a “‘broad

  programmatic attack’ on an agency’s operations” by targeting a policy “consisting [principally]



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  of . . . many individual actions.” ECF No. 48, at 5 (second alteration in original) (first quoting

  Norton, 542 U.S. at 64, then quoting Nat’l Wildlife Fed’n, 497 U.S. at 892-93); see ECF No. 47,

  at 15-16. But Plaintiffs only challenge one specific act by OMB: ordering a nationwide pause on

  federal financial assistance. And, as explained, supra Part II.B.1.a, Defendants and Amicus cannot

  rely on a theoretical version or application of OMB’s directives. The initial memorandum was

  drafted and interpreted broadly in accordance with its text, and what little clarity the guidance

  offered—if any—came far too late. As the court explained in its earlier opinion, the OMB Pause

  Memorandum issued a mandatory command to other federal agencies that produced legal

  consequences for Plaintiffs and others. See ECF No. 30, at 21-23.


                                   c.      Arbitrary and capricious

         Under the APA, a court must “hold unlawful and set aside agency action, findings, and

  conclusions” that are “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

  with law.” 5 U.S.C. § 706(2)(A). “The scope of review under the ‘arbitrary and capricious’ standard

  is narrow and a court is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs.

  Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). To pass muster,

  the agency “must examine the relevant data and articulate a satisfactory explanation for its action[,]

  including a ‘rational connection between the facts found and the choice made.’” Id. (quoting

  Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). Agency action is generally

  deemed unlawful if it “has relied on factors which Congress has not intended it to consider, entirely

  failed to consider an important aspect of the problem, offered an explanation for its decision that

  runs counter to the evidence before the agency, or is so implausible that it could not be ascribed to

  a difference in view or the product of agency expertise.” Id.




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         The arbitrary-and-capricious review at this stage of the litigation remains largely unchanged

  from the court’s earlier opinion. The touchstone of this inquiry is rationality, and Defendants’

  actions flunk that test. Defendants still cannot provide a reasonable explanation for why they

  needed to freeze all federal financial assistance in less than a day to “safeguard valuable taxpayer

  resources.” OMB Pause Memorandum, at 1. Evaluating funding priorities can be done without

  needing to starve citizens or deny critical health services. See, e.g., ECF Nos. 24-4 ¶ 6; 24-11

  ¶¶ 6-7. The potential $3 trillion in financial assistance implicated by the freeze is a “breathtakingly

  large sum of money to suspend practically overnight.” ECF No. 30, at 24. And “[r]ather than

  taking a measured approach to identify purportedly wasteful spending, Defendants cut the fuel

  supply to a vast, complicated, nationwide machine—seemingly without any consideration for the

  consequences of that decision.” Id. Doing so was not—and could never be—rational, especially

  when the decision was made without grappling with its catastrophic effects or the logistical

  nightmare of its implementation.10 See Bus. Roundtable v. Sec. & Exch. Comm’n, 647 F.3d 1144,

  1148 (D.C. Cir. 2011) (explaining that an agency’s failure to “apprise itself . . . of the economic

  consequences” of potential action is “arbitrary and capricious and not in accordance with law”

  (quoting Chamber of Com. of the U.S. v. Sec. & Exch. Comm’n, 412 F.3d 133, 144 (D.C.



  10
     Both Defendants and Amicus argue that “[t]emporary funding pauses are not an unusual exercise
  of executive authority.” ECF No. 48, at 6; see ECF No. 47, at 26-28, 30-31. For support, they
  rely on President Biden’s pause of funding to the southern border wall, Proclamation No. 10,142,
  Termination of Emergency With Respect to the Southern Border of the United States and
  Redirection of Funds Diverted to Border Wall Construction, 86 Fed. Reg. 7225 (Jan. 20, 2021),
  and President Obama’s thirty-day delay of Recovery Act funds, Mem. No. E9-6754, Ensuring
  Responsible Spending of Recovery Act Funds, 74 Fed. Reg. 12531 (Mar. 20, 2009). Without
  passing judgment on the merits of any hypothetical challenges to those executive decrees, the court
  is unpersuaded that targeted pauses of funding for specific projects through an executive order are
  at all comparable OMB’s nationwide suspension of all federal financial assistance. Again, the
  court disagrees with Defendants’ and Amicus’s characterization of the pause in this case as
  “targeted” and “discrete” when the language of the memorandum applied to the “disbursement of
  all Federal funds under all open awards.” OMB Pause Memorandum, at 2.


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  Cir. 2005))). Defendants essentially adopted a “freeze first, ask questions later” approach that

  “entirely failed to consider [multiple] important aspect[s] of the problem.” Motor Vehicle Mfrs.

  Ass’n, 463 U.S. at 43.11

           Defendants also ignored significant reliance interests. Plaintiffs—who only challenge the

  pausing of already allocated funds—produced substantial evidence that numerous organizations

  need consistent disbursements of funds to even operate. Missing a single payment could require

  immediate firings or the discontinuation of entire programs. See ECF Nos. 24-4 ¶¶ 4, 6; 24-5 ¶ 13.

  When an agency suddenly changes course, it must recognize “that longstanding policies may have

  engendered serious reliance interests that must be taken into account.” Dep’t of Homeland Sec. v.

  Regents of the Univ. of Cal., 591 U.S. 1, 30 (2020) (internal quotation marks omitted) (quoting

  Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221-22 (2016)). Defendants entirely failed to

  do so.

           In the simplest terms, the freeze was ill-conceived from the beginning. Defendants either

  wanted to pause up to $3 trillion in federal spending practically overnight, or they expected each

  federal agency to review every single one of its grants, loans, and funds for compliance in less than

  twenty-four hours. The breadth of that command is almost unfathomable. See ECF No. 30, at 17

  (“[I]t is unclear whether twenty-four hours is sufficient time for an agency to independently review

  a single grant, let alone hundreds of thousands of them.”). Either way, Defendants’ actions were




  11
     Defendants repeatedly reference the memorandum’s limitation that agencies only act “to the
  extent permissible under applicable law,” OMB Pause Memorandum, at 2, but this does not save
  them. First, the incantation of magic language cannot justify otherwise-illegal action. Plaintiffs’
  entire complaint alleges that Defendants’ instruction was unlawful to begin with. Second, even
  assuming that this language applies does not change the arbitrary-and-capricious analysis. Just
  because an agency can do something does not make it rational to do so.


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  irrational, imprudent, and precipitated a nationwide crisis. Plaintiffs have therefore shown a

  likelihood of success on their arbitrary and capricious claim.


                                 d.      Excess of statutory authority

         Plaintiffs’ second claim argues that Defendants dramatically overstepped the bounds of

  their legal authority in ordering a nationwide funding freeze.12 Agencies “are creatures of statute”

  and are therefore subject to the limits prescribed by Congress. Nat’l Fed’n of Indep. Bus. v. Dep’t

  of Lab., Occupational Safety & Health Admin., 595 U.S. 109, 117 (2022) (“OSHA”). In other

  words, they “‘literally ha[ve] no power to act’ except to the extent Congress [has] authorized.”

  Marin Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th 902, 912 (D.C. Cir. 2024) (first alteration

  in original) (quoting Fed. Election Comm’n v. Ted Cruz for Senate, 596 U.S. 289, 301 (2022)). If

  an agency exceeds that power, the court must set aside its action under the APA. See 5 U.S.C.

  § 706(2)(C).

         OMB’s organic statute is 31 U.S.C. § 503. Within it, Defendants primarily rely on

  subsections (a)(2) and (a)(5), but neither appears to grant the expansive authority that OMB tried

  to exercise here. Under subsection (a)(2), OMB may “[p]rovide overall direction and leadership

  to the executive branch on financial management matters by establishing financial management

  policies and requirements.” Id. § 503(a)(2). But providing overall direction and establishing

  financial management policies do not clearly confer the power to halt all finances, full-stop, on a

  moment’s notice. Indeed, the structure and provisions of Section 503 strongly suggest that OMB




  12
     As was the case at the TRO stage, a plaintiff who brings multiple claims only needs to show a
  likelihood of success on one of them to obtain injunctive relief. See Media Matters for Am. v.
  Paxton, 732 F. Supp. 3d 1, 27 (D.D.C.), appeal filed, No. 24-7059 (D.C. Cir. 2024). In the interest
  of being thorough, the court will address each of Plaintiffs’ claims here.


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  occupies an oversight role. Defendants have not pointed to specific authority that allows it to

  unilaterally pull the plug on nearly all federal monetary flows.

         Subsection (a)(5) further indicates that OMB’s role is mainly supervisory, rather than directly

  active. That subsection permits OMB to “monitor the financial execution of the budget in relation

  to actual expenditures.” Id. § 503(a)(5). Such language falls well short of actively deciding

  whether agencies “must temporarily pause” all federal financial assistance. Defendants cannot

  convincingly argue that “monitor” rises to that level of affirmative control. See Monitor, The

  Oxford English Dictionary (2d ed. 1989) (defining “monitor” as “to observe, supervise, or keep

  under review”).

         When an agency seeks to “exercise powers of vast economic and political significance,”

  the “sheer scope of [an agency]’s claimed authority” can trigger heightened judicial scrutiny. Ala.

  Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 594 U.S. 758, 764 (2021) (per curiam) (internal

  quotation marks omitted) (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)). In

  such situations, the court “expect[s] Congress to speak clearly” when conferring such authority.

  OSHA, 595 U.S. at 117 (quoting Ala. Ass’n of Realtors, 594 U.S. at 764). The Supreme Court has

  referred to this principle as the “major questions doctrine.” Id. at 122 (Gorsuch, J., concurring).

  Based on the cases in which the Supreme Court has invoked the doctrine, this case easily qualifies.

  See Ala. Ass’n of Realtors, 594 U.S. at 764 (applying the doctrine where the Centers for Disease

  Control and Prevention implemented a nationwide eviction moratorium affecting up to 17 million

  tenants); OSHA, 595 U.S. at 117-18 (applying the doctrine where OSHA required all federal

  employees to obtain COVID-19 vaccinations).

         “When an agency claims to discover in a long-extant statute an unheralded power to

  regulate ‘a significant portion of the American economy,’” the court “typically greet[s] its




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  announcement with a measure of skepticism.” Util. Air Regul. Auth. Grp., 573 U.S. at 324 (quoting

  FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000)). Here, Defendants

  attempted to freeze as much as $3 trillion dollars—the sum total of “all activities related to [the]

  obligation or disbursement of all Federal financial assistance.” OMB Pause Memorandum, at 2.

  That is “no everyday exercise of federal power.” OSHA, 595 U.S. at 117 (internal quotation marks

  omitted) (quoting In re MCP No. 165, Occupational Safety & Health Admin., 20 F.4th 264, 272

  (6th Cir. 2021) (Sutton, C.J., dissenting)).

         The scope of power OMB seeks to claim is “breathtaking,” and its ramifications are

  massive. Ala. Ass’n of Realtors, 594 U.S. at 764. Because there is no clear statutory hook for this

  broad assertion of power, Plaintiffs are likely to succeed on the merits of this claim.


                                        e.       First Amendment

         Plaintiffs’ third claim alleges that Defendants are “threaten[ing] [the] continued receipt of

  federal financial assistance based explicitly on [the recipients’] exercise of their core First

  Amendment rights of speech and association.” ECF No. 40, at 26. Defendants counter that the

  government may “selectively fund a program to encourage certain activities” without

  simultaneously “funding an alternative program [that] deal[s] with the problem in another way.”

  ECF No. 47, at 34 (quoting Rust v. Sullivan, 500 U.S. 173, 193 (1991)). Defendants are correct

  that the government “is not required to subsidize First Amendment rights,” Leathers v. Medlock,

  499 U.S. 439, 450 (1991), or “assist others in funding the expression of particular ideas,” Ysursa

  v. Pocatello Educ. Ass’n, 555 U.S. 353, 358 (2009). And refusing to pay for certain speech

  generally does not inflict a First Amendment harm. See Rust, 500 U.S. at 193.

         What is less clear, however, is whether the government may deliberately withhold funds

  that have already been earmarked for certain recipients based exclusively on the recipient’s



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  viewpoints. Rust and similar decisions by the Supreme Court “are grounded in the notion that the

  ‘Due Process Clauses generally confer no affirmative right to governmental aid.’” J.D. v. Azar,

  925 F.3d 1291, 1327 (D.C. Cir. 2019) (quoting Webster v. Reprod. Health Servs., 492 U.S. 490,

  507 (1989)). But that calculus could change if individuals or organizations have already been

  awarded certain funds and grants—as is the case with Plaintiffs’ members here. If Defendants

  were to unfreeze promised funds only to organizations expressing one view, but not to

  organizations expressing the opposite view, that could raise First Amendment concerns.

         Additionally, the Supreme Court has held that the government “may not deny a benefit to

  a person on a basis that infringes his constitutionally protected . . . freedom of speech[,] even if he

  has no entitlement to that benefit.” Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S.

  205, 214 (2013) (“USAID”) (emphasis added) (quoting Rumsfeld v. F. for Acad. & Institutional

  Rights, 547 U.S. 47, 59 (2006)). It has also made clear that the government cannot “leverage

  funding to regulate speech outside the contours of the [funding] program itself.” Id. at 214-15

  (emphasis added). In other words, when the government exerts First Amendment pressures that

  have nothing to do with the actual financial assistance program, that can be a constitutional

  violation. Plaintiffs rely on that principle here. Defendants respond by arguing that the OMB

  Pause Memorandum is solely framed around “focusing taxpayer dollars” and “[t]he use of federal

  resources,” rather than governing speech beyond the scope of federal financial assistance. ECF

  No. 47, at 34-35 (alteration in original) (citing OMB Pause Memorandum, at 1).

         While the answer is not obvious at this early stage, Plaintiffs have shown some likelihood

  of success on their First Amendment claim. The Supreme Court has remarked that the line between

  proper subsidization and improper coercion “is hardly clear . . . because the definition of a

  particular program can always be manipulated to subsume the challenged condition.” USAID, 570




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  U.S. at 215. That said, the government “cannot recast a condition on funding as a mere definition

  of its program in every case, lest the First Amendment be reduced to a simple semantic exercise.”

  Id. (quoting Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 547 (2001)). The OMB Pause

  Memorandum made several policy statements that are hostile to concepts like “Marxist equity,”

  “transgenderism,” and “woke gender ideology.” OMB Memorandum, at 2. It also instructed federal

  agencies to pause all disbursements that could be connected to these ill-defined categories. Id.

  There is no indication that expressing viewpoints on these issues (or being associated with them

  at all) is in any way tied to the “contours of the [funding] program[s] [themselves].” USAID, 570

  U.S. at 214-15.

          The government “may not ‘aim at the suppression of dangerous ideas’” or “manipulate[]”

  a subsidy “to have a coercive effect.” Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 587

  (1998) (brackets omitted) (first quoting Regan v. Tax’n Without Representation of Wash., 461 U.S.

  540, 550 (1983), then quoting Ark. Writers’ Project, Inc. v. Ragland, 481 U.S. 221, 237 (1987)

  (Scalia, J., dissenting)). By appearing to target specific recipients because they associate with certain

  ideas, Defendants may be crossing a constitutional line.


                                         2.      Irreparable Harm

          While irreparable injury is “a high standard,” England, 454 F.3d at 297, the court’s analysis

  of this factor remains unchanged from the TRO stage. Defendants have not introduced arguments

  or evidence sufficient to undercut Plaintiffs’ strong showing of irreparable harm.

          To qualify for injunctive relief, the alleged injury “must be both certain and great,” “actual

  and not theoretical,” and “of such imminence that there is a ‘clear and present’ need for equitable

  relief.” Id. (quoting Wis. Gas Co. v. Fed. Energy Regul. Comm’n, 758 F.2d 669, 674 (D.C. Cir. 1985)

  (per curiam)). It must also “be beyond remediation,” meaning that “[t]he possibility [of] adequate



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  compensatory or other corrective relief . . . at a later date . . . weighs heavily against a claim of

  irreparable harm.” Id. at 297-98 (quoting Wis. Gas Co., 758 F.2d at 674).

         Here, Plaintiffs have produced significant evidence that a pause on federal funding will

  “threaten[] the very existence of [their members’] business.” Wis. Gas Co., 758 F.2d at 674. A

  freeze will not simply inconvenience them, it will devastate them. The court recounts its findings

  from before, which still hold true today:

                 If the freeze were to remain in effect [or recur], Plaintiffs’ members
                 will suffer “existential injuries” and some programs may “simply
                 disappear.” ECF No. 5-1, at 12. Their workers may be unable to
                 pay for housing or food. ECF No. 24-4 ¶ 7 (“A lot of our staff live
                 paycheck to paycheck, and if they can’t get paid, then they are
                 unable to pay rent or buy groceries.”). Some have already been
                 forced to “shutter [their] programs” just to make payroll. ECF
                 No. 24-7 ¶¶ 20-21. And patients or customers that rely on their
                 services may be denied care when it is most needed. ECF Nos. 24-4
                 ¶ 16; 24-5 ¶ 21. For some, these are harms for which “there can be
                 no do over and no redress.” Newby, 838 F.3d at 9 (quoting League
                 of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th
                 Cir. 2014)); see ECF No. 24-4 ¶ 7 (“[I]f my Health Center loses
                 physicians, dentist, or nurse practitioners, then it will be virtually
                 impossible to recruit replacements to a rural Health System that is
                 suddenly an unreliable source of income.”).

  ECF No. 30, at 27.

         While funds have resumed flowing to some recipients, that does not erase the imminence

  or irreparability of what another pause would entail. As at least one declarant explained, the

  resumption of funding “came in under the wire: had it been one day later, we would not have been

  able to make payroll on Friday, February 7.” ECF No. 40-3 ¶ 4. As discussed previously, all of

  these organizations rely on continued funding in order to keep their doors open.

         The fact that organizations have been able to draw down funds in the immediate aftermath

  of the court’s TRO means nothing if the spigot is shut off again. The injunctive relief that

  Defendants fought so hard to deny is the only thing in this case holding potentially catastrophic



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  harm at bay.13 The court’s previous order may have bought Plaintiffs a few additional weeks of

  funding, but they remain just as vulnerable as they were in the first week of February. A single

  disbursement does not protect a recipient when the next disbursement is equally as vital. Plaintiffs

  have easily shown irreparable harm.


                        3.      Balance of the Equities and the Public Interest

         As is the case with irreparable harm, the balance of the equities and the public interest

  continue to weigh heavily in favor of injunctive relief. “Plaintiffs paint[ed] a stark picture of

  nationwide panic in the wake of the funding freeze.” ECF No. 30, at 28. Nonprofits and

  organizations across the country were left adrift as they scrambled to make sense of the

  memorandum and its effects. See ECF Nos. 24-4, 24-5, 24-6, 24-7, 24-8, 24-9, 24-10, 24-11.

  Entire funding portals were taken offline with no rhyme or reason, generating significant confusion

  and fear. See ECF Nos. 24-8 ¶¶ 8-9; 24-6 ¶ 15; 24-7 ¶ 13; 24-8 ¶ 9. Many organizations had to

  resort to desperate measures just to stay operational. The pause placed critical programs for

  children, the elderly, and everyone in between in serious jeopardy. Because the public’s interest

  in not having trillions of dollars arbitrarily frozen cannot be overstated, Plaintiffs have more than

  met their burden here.




  13
    The court reiterates that the District of Rhode Island’s TRO does not lessen the severity of the
  potential irreparable harm in this case. This court has no control over the District of Rhode Island’s
  decisions and a TRO in that case does “not block this court from entering a TRO of its own.” ECF
  No. 30, at 28 n.9; see Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Hum. Servs., 485 F.
  Supp. 3d 1, 60 (D.D.C. 2020) (“[C]ourts routinely grant follow-on injunctions against the
  Government, even in instances when an earlier nationwide injunction has already provided
  plaintiffs in the later action with their desired relief.”) (collecting cases).


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                                             4.      Bond

         Federal Rule of Civil Procedure 65(c) states that the court may issue a TRO or preliminary

  injunction “only if the movant gives security in an amount that the court considers proper to pay

  the costs and damages sustained by any party found to have been wrongfully enjoined or restrained.”

  Here, Defendants ask the court to require Plaintiffs to “post a bond commensurate with the scope

  of the relief ordered.” ECF No. 47, at 44-45. The court declines. Rule 65(c) “has been read to

  vest broad discretion in the district court to determine the appropriate amount of an injunction

  bond,” DSE, Inc. v. United States, 169 F.3d 21, 33 (D.C. Cir. 1999), “including the discretion to

  require no bond at all,” P.J.E.S. ex rel. Escobar Francisco v. Wolf, 502 F. Supp. 3d 492, 520

  (D.D.C. 2020) (quoting Simms v. District of Columbia, 872 F. Supp. 2d 90, 107 (D.D.C. 2012)).

  A bond “is not necessary where requiring [one] would have the effect of denying the plaintiffs

  their right to judicial review of administrative action.” Nat. Res. Def. Council, Inc. v. Morton, 337

  F. Supp. 167, 168 (D.D.C. 1971) (collecting cases); cf. Nat’l Ass’n of Diversity Officers in Higher

  Educ. v. Trump, No. 25-CV-333, 2025 WL 573764, at *29 (D. Md. Feb. 21, 2025) (setting a

  nominal bond of zero dollars because granting the defendants’ request “would essentially forestall

  [the] [p]laintiffs’ access to judicial review”). In a case where the government is alleged to have

  unlawfully withheld trillions of dollars of previously committed funds to countless recipients, it

  would defy logic—and contravene the very basis of this opinion—to hold Plaintiffs hostage for

  the resulting harm. That is especially so when Defendants—OMB and its director—will personally

  face no monetary injury from the injunction.14




  14
     The court also denies Defendants’ request for an administrative stay pending appeal as premature.
  Id. at 45. If Defendants, after reviewing this opinion and its accompanying order, believe that a
  stay pending appeal is warranted, they may make a request consistent with Federal Rule of
  Appellate Procedure 8.


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                                       III.   CONCLUSION

          For the foregoing reasons, the court will enter a preliminary injunction. A separate order

  will issue.




                                                       LOREN L. ALIKHAN
                                                       United States District Judge

  Date: February 25, 2025




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